UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          : Chapter 11
                                                               :
MADISON SQUARE BOYS & GIRLS CLUB,                              : Case No. 22-10910-shl
INC.1,
                                                               :
                           Debtor.                             :
---------------------------------------------------------------X

                                       CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                          )
                                                 )
    COUNTY OF LOS ANGELES                        )

        I, Mary de Leon, am over the age of eighteen years and am employed by Pachulski Stang

Ziehl & Jones LLP, located at 10100 Santa Monica Blvd., 13th Fl., Los Angeles, CA 90067. I am

not a party to the above-captioned case.

        On June 20, 2023, in addition to service via the Court’s ECF system, I caused a true and

correct copy of the following documents to be served via electronic mail upon the parties set forth

on the service list annexed hereto as Exhibit 1 and via U.S. Mail, first class postage, delivery upon

the parties set forth on the service list annexed hereto as Exhibit 2.

ELEVENTH MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES
LLP FOR COMPENSATION FOR SERVICES RENDERED AND
REIMBURSEMENT OF EXPENSES INCURRED AS COUNSEL
TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
FOR THE PERIOD FROM MAY 1, 2023 THROUGH MAY 31, 2023
        I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.
Dated this 20th day of June, 2023.
                                                              /s/Mary de Leon
                                                              Mary de Leon



1
The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is 250
Bradhurst Avenue, New York, New York 10039.
DOCS_LA:349682.1 54162/004
                                          EXHIBIT 1


                                           Via Email

              NAME                     NOTICE NAME                        EMAIL
PAUL, WEISS, RIFKIND, WHARTON    ALAN K. KORNBERG             AKORNBERG@PAULWEISS.COM
& GARRISON LLP                   ANDREW M. PARLEN             APARLEN@PAULWEISS.COM
                                 JOHN T. WEBER                JWEBER@PAULWEISS.COM
                                 SHAFAQ HASAN                 SHASAN@PAULWEISS.COM

THE OFFICE OF THE U.S. TRUSTEE   US FEDERAL OFFICE BUILDING   USTPREGION02.NYECF@USDOJ.GOV
                                 ANDREA B SCHWARTZ            ANDREA.B.SCHWARTZ@USDOJ.GOV
                                 TARA TIANTIAN                TARA.TIANTIAN@USDOJ.GOV




    DOCS_LA:349682.1 54162/004
                                         EXHIBIT 2

                                        via U.S. Mail


Mr. Tim McChristian
c/o Madison Square Boys and Girls Club, Inc.
250 Bradhurst Avenue
New York, NY 10039




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